          Case 3:13-cv-03953-SI Document 163 Filed 03/02/15 Page 1 of 10




 1   SAM HIRSCH
     Acting Assistant Attorney General
 2   Environment and Natural Resources Division
     MARTHA C. MANN
 3   U.S. Department of Justice
     Environmental Defense Section
 4   P.O. Box 7611
 5   Washington, D.C. 20044
     Tel: (202) 514-2664
 6   Fax: (202) 514-8865
     Email: martha.mann@usdoj.gov
 7
     Attorneys for Defendant Gina McCarthy,
 8   Administrator, United States
     Environmental Protection Agency
 9
     [Additional counsel listed on signature page]
10
11                      IN THE UNITED STATES DISTRICT COURT
12                  FOR THE NORTHERN DISTRICT OF CALIFORNIA
13                                SAN FRANCISCO DIVISION
14
15   SIERRA CLUB and NATURAL                         Case No.: 3:13-cv-3953-SI
16   RESOURCES DEFENSE COUNCIL,

17                  Plaintiffs,                      [PROPOSED] CONSENT DECREE

18          v.

19   GINA MCCARTHY, in her official
     capacity as Administrator of the United
20   States Environmental Protection Agency,

21                  Defendant.

22
23
24
25
26
27
28




                                                                 [PROPOSED] CONSENT DECREE
                                                                       CASE NO.: 3:13-cv-3953-SI
           Case 3:13-cv-03953-SI Document 163 Filed 03/02/15 Page 2 of 10




 1          WHEREAS, on August 26, 2013, Plaintiffs Sierra Club and Natural Resources Defense
 2   Council (“Plaintiffs”) filed the complaint (“Complaint”) in the above-captioned matter against
 3   Defendant Regina McCarthy in her official capacity as Administrator of the United States
 4   Environmental Protection Agency (“EPA”) alleging that EPA has failed to undertake a certain
 5   nondiscretionary duty under the Clean Air Act (“CAA”), 42 U.S.C. §§ 7401-7671q, and that
 6   such alleged failure is actionable under section 304(a)(2) of the CAA, 42 U.S.C. § 7604(a)(2);
 7          WHEREAS, within one year after promulgation of a revised national ambient air
 8   quality standard (“NAAQS”), section 107(d)(1)(A) of the CAA directs states to submit lists of
 9   initial designations of all areas, or portions thereof, as attainment, nonattainment, or
10   unclassifiable for the revised NAAQS, 42 U.S.C. § 7407(d)(1)(A);
11          WHEREAS, EPA is required to promulgate designations for all areas of the country
12   (including tribal areas and certain U.S. territories) within two years of promulgation of the
13   revised NAAQS, or within three years if EPA has insufficient information to promulgate the
14   designations within two years, pursuant to section 107(d)(1)(B) of the CAA, 42 U.S.C.
15   § 7407(d)(1)(B);
16          WHEREAS, EPA is required to publish a notice in the Federal Register promulgating
17   designations, pursuant to section 107(d)(2)(A) of the CAA, 42 U.S.C. § 7407(d)(2)(A);
18          WHEREAS, EPA revised the primary NAAQS for sulfur dioxide (“SO2”) on June 2,
19   2010, see 75 Fed. Reg. 35,520 (June 22, 2010);
20          WHEREAS, states were directed to submit their area designations for the 2010 revised
21   primary SO2 NAAQS by June 2, 2011, see 75 Fed. Reg. at 35,385/col. 2;
22          WHEREAS, on August 3, 2012, EPA invoked the additional year to issue designations,
23   see 77 Fed. Reg. 46,295 (Aug. 3, 2012);
24          WHEREAS, on August 5, 2013, EPA published designations under the 2010 revised
25   primary SO2 NAAQS for twenty-nine areas in sixteen states, thus removing such areas from
26   the potential scope of the above-captioned matter, see 78 Fed. Reg. 47,191 (Aug. 5, 2013);
27          WHEREAS, the Complaint alleges that EPA has a nondiscretionary duty to promulgate
28   and publish the remaining area designations for the 2010 revised primary SO2 NAAQS within

                                                      2
                                                                         [PROPOSED] CONSENT DECREE
                                                                               CASE NO.: 3:13-cv-3953-SI
           Case 3:13-cv-03953-SI Document 163 Filed 03/02/15 Page 3 of 10




 1   the time lines set forth in section 107(d)(1)(B) of the CAA, 42 U.S.C. § 7407(d)(1)(B),
 2   (d)(2)(A);
 3          WHEREAS, on October 29, 2013, Plaintiffs filed a Motion for Summary Judgment on
 4   the issue of liability in the above-captioned matter, reserving for future briefing the issue of
 5   remedy;
 6          WHEREAS, on November 12, 2013, EPA filed its response to Plaintiffs’ Motion for
 7   Summary Judgment and did not dispute the claim of liability;
 8          WHEREAS, on December 6, 2013, the Court granted Plaintiffs’ Motion for Summary
 9   Judgment, and directed the parties to meet and confer on the remedy;
10          WHEREAS, the Plaintiffs and EPA have agreed to a settlement of this action;
11          WHEREAS, the Plaintiffs and EPA, by entering into this Consent Decree, do not waive
12   or limit any claim or defense, on any grounds, related to any EPA final action;
13          WHEREAS, the Plaintiffs and EPA consider this Consent Decree to be an adequate and
14   equitable resolution of all the claims in this matter;
15          WHEREAS, it is in the interest of the public, the Plaintiffs and EPA, and judicial
16   economy to resolve this matter without unnecessary protracted litigation;
17          WHEREAS, the Administrator has proposed and anticipates promulgating a
18   rulemaking that would direct states to conduct additional information collection and analyses
19   regarding certain stationary sources of SO2, for purposes of informing future area designations
20   under the 2010 revised primary SO2 NAAQS, see 79 Fed. Reg. 27,449 (May 13, 2014);
21          WHEREAS, the Plaintiffs and EPA agree that this Court has jurisdiction over this
22   matter pursuant to the citizen suit provision of section 304(a)(2) of the CAA, 42 U.S.C.
23   § 7604(a)(2);
24          WHEREAS, the Court, by entering this Consent Decree, finds that the Consent Decree
25   is fair, reasonable, in the public interest, and consistent with the CAA;
26          NOW THEREFORE, before the taking of testimony, without trial or determination of
27   any additional issue of fact or law that the Court has not already addressed in this matter, and
28   upon consent of the Plaintiffs and EPA, it is hereby ordered, adjudged and decreed, that:

                                                      3
                                                                         [PROPOSED] CONSENT DECREE
                                                                               CASE NO.: 3:13-cv-3953-SI
          Case 3:13-cv-03953-SI Document 163 Filed 03/02/15 Page 4 of 10




 1            1.       EPA shall sign for publication in the Federal Register no later than sixteen (16)
 2   months from the date of this Court’s entry of this Order a notice of EPA’s promulgation of
 3   designations for the 2010 revised primary SO2 NAAQS pursuant to section 107(d) of the CAA,
 4   and within ten (10) business days following such signature deliver the notice to the Office of
 5   the Federal Register for review and prompt publication, for remaining undesignated areas
 6   which:
 7                 (a) based on air quality monitoring in the three (3) full calendar years preceding
 8                    such deadline have monitored violations of the 2010 revised primary SO2
 9                    NAAQS; or
10                 (b) contain any stationary source that has not been “announced for retirement”
11                    pursuant to subparagraph (c) by the date of this Consent Decree, and that,
12                    according to the data in EPA’s Air Markets Database, either (1) emitted more
13                    than 16,000 tons of SO2 in 2012, or (2) emitted more than 2,600 tons of SO2 and
14                    had an annual average emission rate of 0.45 lbs SO2/Mmbtu or higher in 2012;
15                    where
16                 (c) “announced for retirement” means any stationary source in the United States
17                    with a coal-fired unit that as of January 1, 2010, had a capacity of over five (5)
18                    megawatts (MW) and that has announced that it will cease burning coal at that
19                    unit through a company public announcement, public utilities commission
20                    filing, consent decree, public legal settlement, final state or federal permit filing,
21                    or other similar means of communication.
22
              2.       EPA shall sign for publication in the Federal Register no later than December
23
     31, 2017, a notice of EPA’s promulgation of designations for the 2010 revised primary SO2
24
     NAAQS pursuant to section 107(d) of the CAA, and within ten (10) business days following
25
     such signature deliver the notice to the Office of the Federal Register for review and prompt
26
     publication, for remaining undesignated areas in which, by January 1, 2017, states have not
27
     installed and begun operating a new SO2 monitoring network meeting EPA specifications
28

                                                        4
                                                                           [PROPOSED] CONSENT DECREE
                                                                                 CASE NO.: 3:13-cv-3953-SI
           Case 3:13-cv-03953-SI Document 163 Filed 03/02/15 Page 5 of 10




 1   referenced in EPA’s anticipated rulemaking directing states to collect and analyze additional
 2   information regarding SO2 emissions concentrations.
 3          3.       EPA shall sign for publication in the Federal Register no later than December
 4   31, 2020, a notice of EPA’s promulgation of designations for the 2010 revised primary SO2
 5   NAAQS pursuant to section 107(d) of the CAA, and within ten (10) business days following
 6   such signature deliver the notice to the Office of the Federal Register for review and
 7   publication, for all remaining undesignated areas.
 8          4.       After EPA’s obligations under Paragraphs 1 through 3 have been completed,
 9   and after the notices required by Paragraphs 1 through 3 have been published in the Federal
10   Register, EPA may move to terminate the Consent Decree. The Plaintiffs shall have fourteen
11   (14) days in which to respond to such motion.
12          5.       Following delivery of the notices of promulgation of designations described in
13   Paragraphs 1 through 3 to the Office of the Federal Register, EPA shall not take any action
14   (other than is necessary to correct any typographical errors or other errors in form) to delay or
15   otherwise interfere with publication of such notices in the Federal Register. EPA shall make
16   available to the Plaintiffs copies of the notices within five (5) business days following
17   signature by the Administrator.
18          6.       The Plaintiffs and EPA may extend the deadlines established in Paragraphs 1
19   through 3 for a period of sixty (60) days or less by written stipulation executed by counsel for
20   the Plaintiffs and EPA and filed with the Court. In addition, the deadlines established in
21   Paragraphs 1 through 3 may be extended by the Court upon motion by any party to this
22   Consent Decree for good cause shown, after consideration of any response by the non-moving
23   party to this Consent Decree. Any party to this Consent Decree seeking to extend deadlines by
24   motion and without stipulation must provide written notice to all other parties to this Consent
25   Decree of the deadlines the party is seeking to extend at least ten (10) business days prior to
26   filing with the Court such motion. No motion to extend a deadline shall be considered properly
27   filed unless notice pursuant to this Paragraph is provided, or the moving party demonstrates
28   why it could not have provided the advance written notice.

                                                     5
                                                                        [PROPOSED] CONSENT DECREE
                                                                              CASE NO.: 3:13-cv-3953-SI
           Case 3:13-cv-03953-SI Document 163 Filed 03/02/15 Page 6 of 10




 1          7.       Nothing in this Consent Decree shall be construed to limit or modify the
 2   discretion accorded EPA by the CAA and by general principles of administrative law,
 3   including the discretion to alter, amend or revise any response and/or final action contemplated
 4   by this Consent Decree. EPA’s obligations to take the actions set forth in Paragraphs 1 through
 5   3 by the dates specified do not constitute limitations or modifications of EPA’s discretion
 6   within the meaning of this paragraph.
 7          8.       Nothing in this Consent Decree shall be construed to confer upon the District
 8   Court jurisdiction to review any final decision made by EPA pursuant to this Consent Decree.
 9   Nothing in this Consent Decree shall be construed to confer upon the District Court jurisdiction
10   to review any issues that are within the exclusive jurisdiction of the United States Court of
11   Appeals pursuant to section 307(b)(1) of the CAA, 42 U.S.C. § 7607(b)(1). Nothing in the
12   terms of this Consent Decree shall be construed to waive any remedies or defenses the parties
13   may have under CAA section 307(b)(1), 42 U.S.C. § 7607(b)(1).
14          9.       This Court shall retain jurisdiction to enforce the terms of this Consent Decree
15   and to consider any requests for costs of litigation, including attorneys’ fees.
16          10.       In the event of a dispute between the parties to this Consent Decree
17   concerning the interpretation or implementation of any aspect of this Consent Decree, the
18   disputing party shall provide the other party with a written notice outlining the nature of the
19   dispute and requesting informal negotiations. If the parties cannot reach an agreed-upon
20   resolution within ten (10) business days after receipt of notice, any party may move the Court
21   to resolve the dispute.
22          11.       No motion or other proceeding seeking to enforce this Consent Decree shall
23   be considered properly filed, unless the Plaintiffs have followed the procedure set forth in
24   Paragraph 10.
25          12.       The United States, on behalf of EPA, agrees that the Plaintiffs are entitled to
26   recover their costs of litigation (including reasonable attorneys’ fees) (“litigation costs”)
27   incurred in this matter pursuant to 42 U.S.C. § 7604(d). The deadline for filing a motion for
28   litigation costs is hereby extended until 120 days after entry of this Consent Decree by the

                                                      6
                                                                         [PROPOSED] CONSENT DECREE
                                                                               CASE NO.: 3:13-cv-3953-SI
              Case 3:13-cv-03953-SI Document 163 Filed 03/02/15 Page 7 of 10




 1   Court. During this time, the Plaintiffs and EPA shall seek to resolve informally any claim for
 2   litigation costs, and if they cannot reach a resolution, the Plaintiffs may seek such litigation
 3   costs from the Court. The Court shall retain jurisdiction to resolve any request for litigation
 4   costs.
 5             13.    The obligations imposed upon EPA by this Consent Decree may only be
 6   undertaken using appropriated funds. No provisions of this Consent Decree shall be
 7   interpreted as or constitute a commitment or requirement that EPA obligate or pay funds in
 8   contravention of the Anti-Deficiency Act, 31 U.S.C. § 1341, or any other applicable federal
 9   law.
10             14.    The parties recognize that the possibility exists that a lapse in the
11   appropriations that fund EPA could delay compliance with the timetables contained in this
12   Consent Decree. Should a delay occur due to a lapse in appropriations, any deadlines
13   occurring within ninety (90) days of the termination of the delay shall be extended one day for
14   each day of the delay. EPA will provide Plaintiffs with notice as soon as is reasonably possible
15   under the circumstances in the event that EPA invokes this Paragraph of the Consent Decree
16   and will provide Plaintiffs with an explanation of EPA's basis for invoking this Paragraph.
17   Plaintiffs may challenge the invocation of this Paragraph of the Consent Decree under the
18   dispute resolution terms of this Consent Decree, and EPA shall bear the burden of justifying its
19   invocation of this Paragraph.
20             15.    The Plaintiffs and EPA shall not challenge the terms of this Consent Decree or
21   this Court’s jurisdiction to enter this Consent Decree.
22             16.    The Plaintiffs and EPA agree and acknowledge that before this Consent
23   Decree is entered by the Court, EPA must provide notice of this Consent Decree in the Federal
24   Register and provide an opportunity for public comment pursuant to section 113(g) of the
25   CAA, 42 U.S.C. § 7413(g). After this Consent Decree has undergone notice and comment, the
26   Administrator and/or the Attorney General, as appropriate, shall promptly consider any such
27   written comments in determining whether to withdraw or withhold their consent to the Consent
28   Decree, in accordance with section 113(g) of the CAA. If the Administrator and/or the

                                                      7
                                                                         [PROPOSED] CONSENT DECREE
                                                                               CASE NO.: 3:13-cv-3953-SI
           Case 3:13-cv-03953-SI Document 163 Filed 03/02/15 Page 8 of 10




 1   Attorney General do not elect to withdraw and withhold their consent, EPA shall promptly file
 2   a motion that requests the Court to enter this Consent Decree.
 3          17.       Any notices required or provided by this Consent Decree shall be made in
 4   writing, via facsimile, e-mail, or other means, and sent to the following:
 5                      For Plaintiffs:
 6                                  Nicholas Morales
                                    David S. Baron
 7
                                    Earthjustice
 8                                  1625 Massachusetts Ave., STE 702
                                    Washington, DC 20036
 9                                  nmorales@earthjustice.org
                                    dbaron@earthjustice.org
10
                                    Fax: 202-667-2356
11
                                    Zachary M. Fabish
12                                  The Sierra Club
13                                  50 F Street, NW – 8th Floor
                                    Washington, DC 20001
14                                  zachary.fabish@sierraclub.org
                                    Fax: 202-547-6009
15
16                                  Emily K. Davis
                                    Natural Resources Defense Council
17                                  1152 15th Street, NW, Suite 300
                                    Washington, DC 20005
18                                  edavis@nrdc.org
19                                  Fax: 202-289-1060

20
                        For Defendant:
21
22                                  Martha C. Mann
                                    United States Department of Justice
23                                  Environmental Defense Section
24                                  P.O. Box 7611
                                    Washington, DC 20044
25                                  martha.mann@usdoj.gov
                                    Fax: 202-514-8865
26
27
28

                                                     8
                                                                        [PROPOSED] CONSENT DECREE
                                                                              CASE NO.: 3:13-cv-3953-SI
Case 3:13-cv-03953-SI Document 163 Filed 03/02/15 Page 9 of 10
        Case 3:13-cv-03953-SI Document 163 Filed 03/02/15 Page 10 of 10




 1
     COUNSEL FOR DEFENDANT:
2
     Dated: ~) us~- ~ ~'LQ~~
3            ~~~                        SAM HIRSCH
                                        Acting Assistant Attorney General
 4
                                        Environment &Natural Resources Division
 5
                                        MARTHA C. MANN
6                                       United States Department of Justice
                                        Environment &Natural Resources Division
7
                                        P.O. Box 7611
 8                                      Washington, D.C. 20044
                                        Tel: (202) 514-2664
 9                                      E-mail: martha.mann(a~usdoj~ov_
10
                                        Counselfor Defendant EPA
11
12
13
14                                                         2014
     SO ORDERED on this 2nd day of        March
15
16
17
                                        SUSAN ILLSTON
18                                      United States District Judge

19
20
21
22
23
24
25
26
27
28

                                          10
                                                            [PROPOSED] CONSENT DECREE
                                                                  CASE No.: 3:13-cv-3953-SI
